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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 ISAAC MIKE ABERGEL,

                                 Plaintiff,
                                                              1:19-CV-6337 (LLS)
                     -against-
                                                              CIVIL JUDGMENT
 JUUL LABS, INC.,

                                 Defendant.

       Pursuant to the order issued July 19, 2019, dismissing the complaint,

       IT IS ORDERED, ADJUDGED AND DECREED that the complaint is dismissed under

Rule 12(h)(3) of the Federal Rules of Civil Procedure.

       The Court certifies under 28 U.S.C. § 1915(a)(3) that any appeal from the Court’s

judgment would not be taken in good faith.

       IT IS FURTHER ORDERED that the Clerk of Court mail a copy of this judgment to

Plaintiff and note service on the docket.

SO ORDERED.

 Dated:    July 19, 2019
           New York, New York

                                                              Louis L. Stanton
                                                                 U.S.D.J.
